        Case 2:21-cr-00579-DMG Document 13 Filed 02/15/22 Page 1 of 6 Page ID #:521 of 1
                                                                            Page


                                                        UNITED STATES DISTRICT COURT
                                                       CENTRAL DISTRICT OF CALIFORNIA

iJNITED STATES OF AMERICA,                                                  ~   Western Division                          [JNDER SEAL
                                                                 Plaintiff; ~
                                   vs.                                      ~   Case Number: 221-CR-00579-DMG             Information
                                                                            ~   Initial App. Date: 02/15/2022             Summons
 Matthew Funke                                                              ~   Initial App. Time: 1:00 PM



                                                               Defendant.       Date Filed: 12/15/2021
                                                                                Violation: l 8:1955: 31:5363. 5366:
                                                                                18:1955(dl

                                                                                CourtSmart/ Reporter:          GS       o2l 1 5 /22
        PROCEEDINGS HELD BEFORE UNITED STATES                                                      CALENDAR/PROCEEDINGSSHEET
              MAGISTRATE NDGE:Steve Kim                                                             LOCAL/OUT-OF-DISTRICT CASE



        PRESENT:               Chung, Connie G.                                                                                 None

                          Deputy Clerk
                                                                       7~r►a Ma~Cab~                                   Interpreter/Language
                                                                            Assistant U.S. Attorney
          ~ INITIAL APPEARANCE NOT HELD -CONTINUED


         ~   CouR issues Order under Fed. R. Crim. P. 5(fl concerning prosecutor's disclosure obligations; see General Order 21-02 (written order).
             Defendant informed of charge and right to: remain silent; appointment of counsel, if indigent; right to bail; bail review and
              ❑ preliminary hearing OR ❑removal hearing /Rule 20.
             Defendant states true name ~s as charged ❑ is
             Court ORDERS the caption ofthe IndictmenUlnformation be changed to reflect defendant's different true name. Counsel are directed to file all
             future documents reflecting the true name as stated on the record.
          ❑ Defendant advised of consequences of false statement in financial affidavit. ❑Financial Affidavit ordered SEALED.
          ❑
          ~ Attorney: Nathan Hochman, Retained ❑Appointed ❑ Prev. Appointed ❑ Poss. Contribution (see sepazate order)
              ❑ Special appeazance by:
          ❑ Government's request for detention is: ❑GRANTED ❑DENIED ❑WITHDRAWN ❑CONTINUED
         ❑ Contested detention hearing is held. ❑Defendant is ordered: ❑Permanently Detained ❑Temporarily Detained (see separate order).
        /p
         ~~fBAIL FIXED AT $         25~ UD d                  (SEE ATTACHED COPY OF CR-1 BOND FORM FOR CONDITIONS)
         ❑ Government moves to iJNSEAL ComplainUIndictmenUlnformation/Entire Case: ❑GRANTED ❑DENIED
          ❑ Preliminary Heazing waived. ❑ Class B Misdemeanor ❑Defendant is advised of maximum penalties
          ~ This case is assigned to Magistrate Judge                                     .Counsel are directed to contact the clerk for the setting
            of all further proceedings.
          ❑ PO/PSA WARRANT ❑Counsel are directed to contact the clerk for
            District Judge                                                 for the setting of further proceedings.
          ~ Preliminary Hearing set for                         at 4:30 PM
         ~PIA set for:                                    at 11:00 AM in LA; at 10:00 AM in Riverside; at 10:00 AM in Santa Ana
          ❑ Government's motion to dismiss case/defendant                                                only: ❑GRANTED ❑DENIED
          ❑ Defendant's motion to dismiss for lack of probable cause: ❑GRANTED ❑DENIED
         ❑ Defendant executed Waiver of Rights. ❑Process received.
         ~ Court ORDERS defendant Held to Answer to                                     District of
             ❑ Bond to transfer, if bail is posted. Defendant to report on or before
             ❑ Warrant of removal and final commitment to issue. Date issued:                                 By CRD:
            ❑ Warrant of removal and final commitment are ordered stayed until
         ~ Case continued to (Date)                                 (Time)                                         AM / PM
           Type of Hearing:                            Before Judge                                               /Duty Magistrate Judge.
          Proceedings will be held in the ❑Duty Courtroom                                    ❑Judge's Courtroom
         ❑ Defendant committed to the custody ofthe U.S. Marshal Summons: Defendant ordered to report to USM for processing.
         ~ Abstract of Court Proceeding(CR-53)issued. Copy forwarded to USM.
            Abstract of Order to Return Defendant to Court on Next Court Day(M-20)issued. Original forwarded to USM.
            RELEASE ORDER NO:                 $ t~l Wl h'~ ~ hJ
            Other:                       Q I F}"   I~ e l d        ~ c<     <SG ~' a moo+. ~'t        (M ~ w u k~f
                       ❑ PSA ❑ USPO ❑FINANCIAL                            ❑ CR-10 ❑ CR-29                      ❑READY
                                                                                                                 Deputy Clerk Initials

r----              --                                                                                                                                      -
          M-5(10/13)                            CALENDAR/PROCEEDING SKEET -LQCAL/Oi1'C-OF-DISTRICT CASE                                      Page 1 of 1




http://156.131.20.221/cacd/CrimIntakeCal.NSF/1222c8c990b 1f46c882571d2006f1655?Op... 2/15/2022
K                   Case 2:21-cr-00579-DMG Document 13 Filed 02/15/22 Page 2 of 6 Page ID #:53
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                     TTNITED STATES DISTRICT COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA

        Case Name: United States ofAmerica v.               ~Gt -f'-I'~ c W       Fvf vt 1~-C_          Case No.      CQ- 2~ - Oo S~-c~ — ~7M 6

                                                       Defendant       [~ Material Witness

        Violation ofTifle and Section:                          L $ - I q SS ~ 3I       = 5363, S3 66; ~ S ~ (~T 5S Cod,
                                           Summons       ~ Out ofDistrict ~ ITNDER SBAL ~ Modified Date:

        Check ~o one ofthefive numbered boxes below (unless one bond is to be replaced by another):
        1,     Perso Recognizance (Signature On y)        (~),❑ p,{~davit ofSurety With Justification            Release No.
                                                                 (Form CR-3) Signed by:                                    S v M M o NS
        2.     Unsecured Appearance Bond
                g            2S~ 000
                                                                                                                       Release to Pretrial ONLY
        3.[]Appearance Bond                                                                                        ~ Release to Probation ONLY
                ~                                                                                                  ~
                                                                                                                   ] Forthwith Release
          (a).Q Cash Deposit(Amouxt or %)(Form CR-7)                     ~ With Full Deeding ofProperty:

          (b).[~ tTffidavit ofSurety Without
                 Justification (Farm CR-4)Signed by:
                                                                                                                  ~ All Conditions ofBond
                                                                                                                   (Exce tClearing-Warrants
                                                                                                                     Con~tion) Must be Met
                                                                                                                    and Posted by:
                                                                                                                         2('L't- ~ I'L(owe

                                                                                                                       Third-Party Custody
                                                            4,~ Collateral Bond in the Amount of(Cash                  Affidavit(Form CR-31)
                                                                or Negotiable Securities):
                                                                   $                                                   Bail Fixed by Court:
                                                            5.❑Corporate Surety Bond in the Amo~snt of:            ~~               ~
                                                                 ~                                                 (Judge /Clerk's Initials)


                                                         PRECONDITIONS TO RELEASE
           The government has requested a Nebbia hearing under 18 U.S.C.§ 3142(g)(4).
       ~ The Court has ordered a Nebbia hearing under § 3142(g)(4).
           The Nebbia hearing is set for                                     at          0 a.m.0 p.m.

                                                     ADDITIONAL CONDITIONS OF RELEASE
     In addition to the GENERAL CONDITIONS ofRELEASE,the following conditions ofrelease are imposed upon you:
         Submitto: ~ Pretrial Services Agency(PSA)supervision as directed by PSA;.~]Probation(USPO)supervision as directed by USPO.
                  (The agency indicated above,PSA or USPO, will be referred to below as "SupervisfngAgenry.'~

         Surrender all passports and travel documents to 5npervising Agency no later than        h ~o~ ~         Z ~ZZlZZ,sign a Declaration
         re Passport and Other Travel Documents(Form CR-3~,and do not apply for a passport or other travel document during the pendency
         ofthis case.
         Travel is restricted to     (,o vt ~l~y~ fiv,~~           V S~                          unless prior permission is granted by Supervising
         Agency to travel to a specific other location. Court permission is required for international travel.
[]Reside as approved by Supervising Agency and do not relocate without prior permission from Supervising Agenry.
[]Maintain or actively seek employment and provide proofto Supervising Agenry. ~ Employment to be approved by Supervising Agency.
 [
 ] Maintain or begin an educational programs and provide proofto Supervising Agency.
                                                                                     Defendant's Initials:                Date:
     CR-1(07/21)                             CENTRAL DISTRICT OF CALIF ItNIA RELEASE ORDER AND BOND FORM                               PAGE 1 QP 5
                Case 2:21-cr-00579-DMG Document 13 Filed 02/15/22 Page 3 of 6 Page ID #:54


                                                                                                  Case No.
   Case Name: United States of America v.
                                           []Defendant []Material Witness
                                                                                                             a known victim or
       Avoid all contact, directly or indirectly(including by any electronic means),with any person who is
       witness in the subject investigation or prosecution,[]including but not limited to
                                                            Q except
                                                                                                           except in the presence
 ]
 [ Avoid all contact, directly or indirectly(including by any electronic means),with any Down codefendants
                                                                                                               present:
    ofcounsel. Notwithstanding this provision, you may contact the following codefendants without your counsel

                                                                                                        to determine compliance,
]
[ Do not possess any firearms, ammunition, destructive devices, or other dangerous weapons.[]In order
                                                                                                           the U.S. Marshal.
  you agree to submit to a seazch of your person and/or property by Supervising Agency in conjunction with
                                                                                                                     than in your
]
[ Do not use or possess any identification, mail matter, access device, or any identification-zelated material other
                                                                                                            compliance,you agree
  own legal or true name without prior permission from Supervising Agency.[~ In order to determine
                                                                                                                Marshal.
  to submit to a search ofyour person andlor property by Supervising Agency in conjunction with the U.S.
 ]
 [ Do not engage in telemarketing.
]
[ Do not sell, transfer, or give away any asset valued at $                                    or more without notifying and obtaining

       permission from the Court, except
 ]
 [ Do not engage in tax preparation for others.
[]Do not use alcohol.
                                                                                                        abide by all the rules and
]
[ Participate in the electronic remote alcohol monitoring program as directed by Supervising Agenry and
                                                                                                          to pay as determined by
   requirements ofthe program. You must pay all or part ofthe cosFs for treatment based upon your ability
       Supervising Agenry.
                                                                                                             you agree to
~ Do not use or possess illegal drugs or state-authorized marijuana. ~ In order to determine compliance,
]
                                                                                                         Marshal.
  submit to a search ofpour Berson and/or properly by Supervising Agency in conjunction with the U.S.
                                                                                                                synthetic, or
  Do not use for pwrposes ofintoxication any controlled substance analogue as defined by federal law or street,
                                                                                                  minim a11y, except as
   designer psychoactive substance capable ofimpairing mental or physicalfunctionin g more than
        prescribed by a medical doctor.
                                                                                                                  by Supervising Agenry.
[]Submit to: ~drug and/or Q alcohol testing. If directed to do so, participate in outpatient treatrnent approved
                                                                                                                  Supervisumg Agency.
   You must pay all or part ofthe costs for testing and treatment based upon your ability to pay as determined by
                                                                                                                pay all or part ofthe costs
[ Participate in residential ~ drug and/or Q alcohol trea~ent as directed by Supervising Agenry.You must
]
                                                                                                                            to USPO only
   oftreatmern based upon your ability to pay as determined by Supervising Agency. ~Release to PSA only []Release
                                                                                                            treatment approved by
[]Submit to a mental health evaluation. If directed to do so,participate in mental health counseling and/or
                                                                                                                          Agency.
   Supervising Agenry. You must pay all or part of the costs based upon your ability to pay as determined by Supervising
                                                                                                             program and any indicated
[ Participate in the Location Monitoring Program marked below and abide by all ofthe requirements ofthe
]
                                                                                                                   based upon your ability
  restrictions, under the direction o£the Supervising Agency. You must pay all or part ofthe costs ofthe program
       to pay as determined by the Supervising Agenry. You are financially responsible far any lost or damaged equipment.

       Location Monitoring Technology

            Location Monitoring technology at the discretion ofthe Supervising Agency

       or



                                                                                 Defendant's Initials:                Date:
~r + ~~~~~~ ~                             ruri~ru 4T TtTSTRTf'.T C1F RAT.TFnRNTA REI~ASE ORDER AND BOND FORM                     PAGE 2 QF 5
              Case 2:21-cr-00579-DMG Document 13 Filed 02/15/22 Page 4 of 6 Page ID #:55
  Case Name: United States of America v.                                                            Case No.

                                                 Defendant     ~ Material Witness

           Location Monitoring with a bracelet
               at the discretion ofthe Supervising Agenry or
               Radio Frequency(RF)or
               Global Positioning System (GPS)

               Release to the Supervising Agenry only or     ~ Placement ofbracelet within 24 hours ofrelease
      or


           Location Monitoring without a bracelet

               at the discretion ofthe Supervising Agenry or

               VirtuaUBiometric or

               Voice Recognition



      Restrictions

           Location Monitoring only - no residential restrictions

           Curfew -You are restricted to your residence every day:
               from                    to
               as directed by Supervising Agency

           Home Detention -You are restricted to your residence at all times except for employment,education, religious services, medical
           needs or treatment, attorney visits, court appearances and obligations, essential needs, and
           all of which must be preapproved by the Supervising Agenry
           Home Incarceration -You are restricted to your residence at all times except for medical needs or treatment, attorney visits, court
           appearances and obligations, and                                    ,all of which must be preapproved by the Supervising Agenry


      You are placed in the third-party custody(Form CR-31) of
      Clear outstanding Q warrants or~ DMV and traffic violations and provide proofto Supervising Agenry within                  days

      ofrelease from custody.
      Do not possess or have access to,in the home,the workplace, or any other location, any device that offers intemet access except
      as approved by Supervising Agenry. ~ In order to determine compliance, you agree to submit to a search ofyour person
      and/or property by Supervising Agenry in conjunction with the U.S. Marshal.
      Do not associate or have verbal, written,telephonic,electronic, or any other communication with any person who is less than
      the age of 18 except in the presence ofa parent or legal guardian ofthe minor.
      Do not loiter or be found within 100 feet ofany schoolyard,park, playground,arcade, or other place primarily used by children
      under the age of 18.
      Do not be employed by, affiliated with, own,control, or otherwise participate directly or indirectly in the operation of any daycare
      facility, school, or other organization dealing with the care,custody, or control ofchildren under the age of 18.
                                                                                Defendant's Initials:               Date:
CR-1(07/21)                             CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND FORM                               PAGE 3 OF 5
                   Case 2:21-cr-00579-DMG Document 13 Filed 02/15/22 Page 5 of 6 Page ID #:56
       p     '
~~

     ' Case Name: United States of America v.                                                                Case No.
                                                        Defendant      Q Material Witness

       [
       ] Do not view oz possess child poznography or child erotica.0In order to determine compliance,you agree to submit to a search
             ofyour person and/or property,including computer hardwaz'e and software, by Supervising Agency in conjunction with the U.S.
             Mazshal.
            Other conditions:




                                                    GENERAL CONDITIONS OP RELEASE

        I will appear in person in accordance with any and all directions and orders relating to my appearance in the above entitled matter as
        maybe given or issued by the Court or anyjudicial officer thereof, in that Court or before any Magistrate Judge thereof, or in any other
        United States District Court to which T may be removed or to which the case may be transferred.

        I will abide by any judgment entered in this matter by surrendering myself to serve any sentence imposed and will obey any order or
        direction in connection with such judgment as the Court may prescribe.

        I will immediately inform my counsel ofany change in my contact information, including my residence address and telephone number,
        so thatI may be reached at all times.

       I will. not commit a federal,state, or Local crime during the period ofrelease.

       I will not intimidate any witaess~, juror, or officer ofthe court or obstruct the ~-rim?nal investigation in this case. Additionally, I will not
       tamper with, harass, or retaliate against any alleged witness, victim, or informant in this case. X understand that if I do so, I may be
       subject to further prosecution under the applicable statutes.

       I will cooperate in the collection ofa DNA sample under 42 U.S.C.§ 14135a.




                                                                                         Defendant's Initials:               Date:
     CR-1(07/21)                              CENTRAL DISTRICT OF CALIFORTTIA RELEASE ORDER AND BOND FORM                                  PAGE 4 QP 5
                   Case 2:21-cr-00579-DMG Document 13 Filed 02/15/22 Page 6 of 6 Page ID #:57

1,

           Case Name: United States ofAmerica v.                                                            Case No.
                                                          Defendant     ~ Material Witness


                                         ACKNOWLEDGMENT OF DEFENDANT/MATERIAL WITNESS

          As a condition of my release on this bond,pursuant to Title 18 ofthe United States Code,I have read or have had interpreted to me
          and understand the general conditions ofrelease, fine preconditions, and the addirional conditions ofrelease and agree to comply with
          all conditions ofrelease imposed on me and to be bound by the provisions ofLocal Criminal Rule 46-6.

          Furthermore,it is agxeed and understood that this is a continuing bond (including anyproceeding on appeal or review) which will
          continue in.full force and effect until such time as duly exonerated.

          I understand that violation ofanq ofthe general and/or additional conditions ofrelease ofthis bond may result in a revocation o£
          release, an order of detention, and a new prosecution for an additional offense which could result in a term ofimprisonment and/or
          fine.

         Ifurthez understand that ifI fail to obey and perform any ofthe general and/or additional conditions ofrelease ofthis bond,this bond
         may be forfeited to the United States ofAmerica.If said forfeiture is not set aside,judgment may be summarily entered in files
         Court against me and each surety,joinfly and severally,for the bond amount,together with interest and costs.Execution ofthe
         judgment may be issued or payment secured as provided by the Federal Roles of CriminalProcedure and other laws ofthe
         United States,and any cash or real ox personal property or the collatearal previously posted in connection'withthis band map be
         forfeited.




         Date                                  Signature ofDefendant/Material Witness                        Telephone Number




          Gity and State(DO NOT11VCLUDE ZIP CODE)



             Check ifinterpreter is used:I have interpreted into the                                                   language this entire form
              and have been told by the defendant that he or she understands all ofit.



         Interpreter's Signature                                                                        Date



          Approved:
                                   United States DistrictJudge /Magistrate judge                        Date


         Ifcash deposited: Receipt#                                 for $


        (This bond may regni~re suzety agreements and affidavits pursuant to Local Criminal Rule 46.)




                                                                                    Defendant's Initials:                Date:
     CR-1(07/21)                               CENTRAL DISTRICT'OF CALIFORNIA RELEASE ORDER AND BOND FORM                             PAGE 5 OF 5
